EXHIBIT K
From:             Richards, Jason R.
To:               Robert Giuffre
Subject:          RE: Hi There
Date:             Wednesday, August 27, 2014 10:44:32 AM




Hi Jenna,

My suggestion is for you to do a Freedom of Information Act request (www.foia.gov) for the information
you are looking for because I am not able to release information (should there be any) from FBI
records. You need to include as many details as possible so they can focus and narrow the search.
Explain that you are looking for information related to your recovery as a victim of            . The
process may take some time but it is the appropriate method for you to obtain any possible records
regarding your recovery. Hope this helps.

Best wishes,

Jason

-----Original Message-----
From:
Sent: Wednesday, August 27, 2014 9:49 AM
To: Richards, Jason R.
Subject: Hi There

G'day Jason,

I know I am a pain in your rear right now and I don't want to be but I am so close to wrapping up an
era, just need a couple dates confirmed is all.

If you aren't sure about the dates which you have already said that's fine. I have turned the Wilton
Manors police dept upside down looking through records and come up w nada. What was your
acquaintance's name that took my statement about                   Is it possible that it wasn't Wilton
Manors and maybe it was somewhere else?

I'm really racking my brain about this!! It would be a personal favor to me and I am so very much
appreciative of anything you might know!!

Thanks a lot mate!!

Jenna

Sent from my iPhone




                                                                                            GIUFFRE005607
                                                                                            CONFIDENTIAL
From:             Richards, Jason R.
To:
Subject:          Re: Hi There
Date:             Wednesday, August 27, 2014 10:50:27 AM




Feel free to reach out to me any time.
Take care.

Jason


----- Original Message -----
From:
To: Richards, Jason R.
Sent: Wed Aug 27 10:46:50 2014
Subject: Re: Hi There

Thank you Jason. I hope all has been well for you and yours!

All the best, I won't bother you again.

Jenna

Sent from my iPhone

> On Aug 27, 2014, at 10:44 AM, "Richards, Jason R." <Jason.Richards2@ic.fbi.gov> wrote:
>
> Hi Jenna,
>
> My suggestion is for you to do a Freedom of Information Act request (www.foia.gov) for the
information you are looking for because I am not able to release information (should there be any) from
FBI records. You need to include as many details as possible so they can focus and narrow the search.
Explain that you are looking for information related to your recovery as a victim of                . The
process may take some time but it is the appropriate method for you to obtain any possible records
regarding your recovery. Hope this helps.
>
> Best wishes,
>
> Jason
>
> -----Original Message-----
> From:
> Sent: Wednesday, August 27, 2014 9:49 AM
> To: Richards, Jason R.
> Subject: Hi There
>
> G'day Jason,
>
> I know I am a pain in your rear right now and I don't want to be but I am so close to wrapping up an
era, just need a couple dates confirmed is all.
>
> If you aren't sure about the dates which you have already said that's fine. I have turned the Wilton
Manors police dept upside down looking through records and come up w nada. What was your
acquaintance's name that took my statement about                   ? Is it possible that it wasn't Wilton
Manors and maybe it was somewhere else?
>
> I'm really racking my brain about this!! It would be a personal favor to me and I am so very much
appreciative of anything you might know!!


                                                                                          GIUFFRE005608
                                                                                          CONFIDENTIAL
>
> Thanks a lot mate!!
>
> Jenna
>
> Sent from my iPhone




                        GIUFFRE005609
                        CONFIDENTIAL
From:
To:                Jason.Richards2@ic.fbi.gov
Subject:           Virginia Roberts(Jane doe 102)
Date:              Tuesday, April 15, 2014 9:50:31 AM




Hi Jason,

Long time, no talk. I hope all has been well for you and yours!! I am now back in the USA, not too
many people know about that and I'd like to keep it that way as my case against Jeffrey Epstein has
intensified!! I am here to get this BS non- prosecution agreement thrown out and speaking w Judge
Paul Cassal he suggested trying to get ahold of any photos and/or video recordings released by the FBI
to assist our case further in proving how much pedophilia occurred by Jeffrey and the many other
monsters he obliged w underage girls. If this is a possibility please let me know so I can give you Brad
Edwards( my attorney) his contact details. Many thanks for your time and I hope we should meet again.

Kindest Regards,
Virginia Roberts
Phone                8

Sent from my iPhone




                                                                                          GIUFFRE005610
                                                                                          CONFIDENTIAL
From:
To:                christina.pyror@ic.fbi.gov
Subject:           Virginia Roberts re: Jeffrey Epstein Case
Date:              Wednesday, April 16, 2014 1:52:05 PM




Hi Christina,

I was wondering if you remember me from Sydney Consulate, I am a victim in the investigation from
the Jeffrey Epstein case and was wondering if you could tell me if I would be able to get ahold of any
of the pics and/or videos that the FBI might have confiscated from any of Epstein's residences? Also can
I ask if you might have any of the flight logs that include my name in them to be sent to me as well.
It's all for evidential purposes and would prove a many of things to help my case.

Kindest Regards,
Virginia Roberts


Sent from my iPhone




                                                                                         GIUFFRE005611
                                                                                         CONFIDENTIAL
From:           sharonrikard@gmail.com on behalf of Sharon Rikard
To:             Virginia Giuffre
Subject:        Re: Victims Refuse Silence
Date:           Saturday, March 28, 2015 9:49:55 AM



Hi Virginia,
So sorry for the late response. Our organization currently works with survivors of
sex trafficking provided continuing education, life skills and counseling. We will help
with transportation and their basic necessities. Our ultimate goal is a home for
domestic minor sex trafficking survivors.
Our contact information is:
doorstofreedom.com
infor@doorstofreedom.com
843-817-0740

I am going to forward your information to our Attorney Generals office as
Marie Sazehn has compiled a list of organizations in our state of people/organizations
and their involvement in helping survivors.

Thanks for all you are doing to help others!

Blessings,
Sharon Rikard




                                                                           GIUFFRE005612
                                                                           CONFIDENTIAL
From:              Virginia Giuffre
To:                sharon@doorstofreedom.com
Subject:           Victims Refuse Silence
Date:              Wednesday, March 18, 2015 12:19:06 PM




Hi Sharon,

This is Virginia, we spoke earlier and I just wanted to say thank you for your time and what your doing
to help the victims in your area. The mentality has to be changed!! Good luck!!

Kindest Regards,
Virginia Roberts

Sent from my iPhone




                                                                                         GIUFFRE005613
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Log                                                                                                                                                                                            Privilege                Doc
 ID   Email Sent Date   Email From              Email To                      CC Address                     Subject Matter                                                  Type of Privilege Action      Page Count   Type
                                                                                                                                                                             AC Privilege and
                                                                                                                                                                             Work
                                                                                                                                                                             Product/joint
                                                                                                             Email chain with Giuffre, Edwards and Cassell re attorney       defense/commo
 1    2/12/2015 6:14    Virginia Giuffre        smccawley@bsfllp.com                                         impressions and legal advice relating to deposition testimony   n interest        Withheld        3        msg
                                                                                                                                                                             AC Privilege and
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                                                Smccawley@BSFLLP.com,br                                                                                                      Product/joint
                                                ad@pathtojustice.com,                                                                                                        defense/commo
 2    2/16/2015 1:05    StanPottinger@aol.com                                                                Discussion of evidence among client and attorneys               n interest        Withheld        2        msg

                                                                                                                                                                             Attorney
                                                                                                                                                                             Client/joint
                                                                                                                                                                             defense/commo
                                                                                                             Email chain with Giuffre, McCawley, Pottinger and Edwards re    n interest/work
 3    2/16/2015 15:37   Virginia Giuffre        Smccawley@BSFLLP.com                                         information provided by client to assist in legal advice        product         Withheld          2        msg

                                                                                                                                                                             Attorney
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                                                                                                             Email chain with Giuffre, McCawley, Pottinger and Edwards re    n interest/work
 4    2/16/2015 16:15   Sigrid McCawley                                                                      information provided by client to assist in legal advice        product         Withheld          2        msg

                                                                                                                                                                             Attorney
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                                                                                                             Email chain with Giuffre, McCawley, Pottinger and Edwards re    n interest/work
 5    2/16/2015 16:24   Virginia Giuffre        Smccawley@BSFLLP.com                                         information provided by client to assist in legal advice        product         Withheld          2        msg

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                                                                                                             Email chain with Giuffre, McCawley, Pottinger and Edwards re    n interest/work
 6    2/16/2015 16:24   Sigrid McCawley                                                                      information provided by client to assist in legal advice        product          Withheld         2        msg
                                                                                                                                                                             AC Privilege and
                                                StanPottinger@aol.com,bra                                                                                                    Work
                                                d@pathtojustice.com,cassell                                                                                                  Product/joint
                                                p@law.utah.edu,                                                                                                              defense/commo
 7    2/21/2015 16:45   Sigrid McCawley                                       Smccawley@BSFLLP.com           Discussion of evidence among client and attorneys               n interest       Withheld         2        msg



                                                                 Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                  Privilege                Doc
 ID   Email Sent Date   Email From              Email To                   CC Address                         Subject Matter                                       Type of Privilege Action      Page Count   Type
                                                                                                                                                                   AC Privilege and
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 8    2/21/2015 16:58   Virginia Giuffre        Smccawley@BSFLLP.com                                          Discussion of evidence among client and attorney     n interest        Withheld        2        msg
                                                                                                                                                                   AC Privilege and
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                                                                           StanPottinger@aol.com,cassellp@l                                                        Product/joint
                                                                           aw.utah.edu,                                                                            defense/commo
 9    2/21/2015 17:05   Brad Edwards            Smccawley@BSFLLP.com                                          Discussion of evidence among client and attorneys    n interest       Withheld         2        msg
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10    2/21/2015 17:10   Sigrid McCawley         r                                                             Discussion of evidence among client and attorney     n interest       Withheld         3        msg
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11    2/21/2015 17:16   Virginia Giuffre        Smccawley@BSFLLP.com                                          Discussion of evidence among client and attorneys    n interest       Withheld         3        msg
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                                                                           StanPottinger@aol.com,brad@pat                                                          Product/joint
                                                                           htojustice.com,cassellp@law.utah.                                                       defense/commo
12    2/23/2015 14:21   Sigrid McCawley                                    edu                               Discussion of thoughts and impressions of attorneys   n interest       Withheld         1        msg
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                                                Smccawley@BSFLLP.com,ro brad@pathtojustice.com,cassellp@                                                           defense/commo
13    2/23/2015 14:29   StanPottinger@aol.com                           law.utah.edu                     Discussion of thoughts and impressions of attorneys       n interest       Withheld         1        msg
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                                                                           StanPottinger@aol.com,brad@pat                                                          Product/joint
                                                                           htojustice.com,cassellp@law.utah.                                                       defense/commo
14    2/23/2015 16:01   Virginia Giuffre        Smccawley@BSFLLP.com       edu                               Discussion of thoughts and impressions of attorneys   n interest       Withheld         1        msg




                                                                 Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                        Privilege                Doc
 ID   Email Sent Date   Email From         Email To                  CC Address                        Subject Matter                                                    Type of Privilege Action      Page Count   Type
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                                                                                                       Email chain with McCawley, Giuffre, and Paralegals re seeking     defense/commo
15    2/24/2015 17:51   Sigrid McCawley                                                                information to assist in legal advice, with attachment            n interest        Withheld        4        msg
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16                                                                                                     Attached case research                                            n interest       Withheld        14         rtf
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                                                                                                       Email chain with Giuffre, McCawley and legal assistant re legal   defense/commo
17    2/26/2015 12:59   Virginia Giuffre   Smccawley@BSFLLP.com                                        document, with attachment                                         n interest       Withheld         1        msg
                                                                                                                                                                         AC Privilege and
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18                                                                                                     Attached draft legal document                                     n interest       Withheld         1        jfif
                                                                                                                                                                         AC Privilege and
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                                                                                                                                                                         Product/joint
                                                                                                       Email with Giuffre, McCawley, Edwards and Henderson re            defense/commo
19    2/28/2015 17:47   Virginia Giuffre   Smccawley@BSFLLP.com                                        discussion of draft statement                                     n interest       Withheld         3        msg
                                                                                                                                                                         AC Privilege and
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                                                                     Smccawley@BSFLLP.com,brad@pa Email chain with Giuffre, Edwards, McCawley, Henderson and             defense/commo
20    3/13/2015 17:29   Stan Pottinger                               thtojustice.com              Pottinger re legal advice on media issues                              n interest       Withheld         2        msg
                                                                                                                                                                         AC Privilege and
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                                                                                                       Email chain with Giuffre, Edwards, McCawley and Pottinger re      defense/commo
21    3/13/2015 17:49   Virginia Giuffre   stanpottinger@aol.com                                       legal advice on media issues                                      n interest       Withheld         2        msg




                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                        Privilege                Doc
 ID   Email Sent Date   Email From              Email To                  CC Address                        Subject Matter                                               Type of Privilege Action      Page Count   Type
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                                                                          Smccawley@BSFLLP.com,brad@pa Email chain with Giuffre, Edwards, McCawley, Henderson and        defense/commo
22    3/13/2015 17:56   StanPottinger@aol.com                             thtojustice.com              Pottinger re legal advice on media issues                         n interest        Withheld        3        msg
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                                                StanPottinger@aol.com,                                      Email chain with Giuffre, Edwards, McCawley, Henderson and   defense/commo
23    3/13/2015 18:00   Brad Edwards                                      Smccawley@BSFLLP.com              Pottinger re legal advice on media issues                    n interest       Withheld         3        msg
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                                                                                                            Email chain with Giuffre, Edwards, McCawley, Henderson and   defense/commo
24    3/13/2015 18:24   Virginia Giuffre        brad@pathtojustice.com                                      Pottinger re legal advice on media issues                    n interest       Withheld         4        msg
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                                                                                                            Email chain with Giuffre, Edwards, McCawley, Henderson and   defense/commo
25    3/13/2015 18:25   Virginia Giuffre        StanPottinger@aol.com                                       Pottinger re legal advice on media issues                    n interest       Withheld         3        msg
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                                                                          Smccawley@BSFLLP.com,StanPotti Email chain with Giuffre, Edwards, McCawley, Henderson and      defense/commo
26    3/13/2015 21:53   Virginia Giuffre        brad@pathtojustice.com    nger@aol.com                   Pottinger re legal advice on media issues                       n interest       Withheld         4        msg
                                                                                                                                                                         AC Privilege and
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                                                                                                            Email chain with Giuffre, Edwards, McCawley, Henderson and   defense/commo
27    3/13/2015 23:38   Brad Edwards                                                                        Pottinger re legal advice on media issues                    n interest       Withheld         4        msg
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                                                                                                            Email chain with Giuffre, Edwards, McCawley, Henderson and   defense/commo
28    3/13/2015 23:40   Virginia Giuffre        brad@pathtojustice.com                                      Pottinger re legal advice on media issues                    n interest       Withheld         4        msg




                                                                Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                            Privilege                Doc
 ID   Email Sent Date   Email From         Email To                    CC Address                       Subject Matter                                                       Type of Privilege Action      Page Count   Type

                                                                                                                                                                             Attorney
                                                                                                                                                                             Client/joint
                                           Smccawley@BSFLLP.com,br                                                                                                           defense/commo
                                           ad@pathtojustice.com,stan                                    Providing information to assist in legal advice re potential legal   n interest/work
29    3/17/2015 15:20   Virginia Giuffre   pottinger@aol.com                                            action, with attachments                                             product         Withheld          1        msg


                                                                                                                                                                             Attorney
                                                                                                                                                                             Client/joint
                                           Smccawley@BSFLLP.com,br                                                                                                           defense/commo
                                           ad@pathtojustice.com,                                        Email chain with Giuffre, Edwards, Pottinger and McCawley re         n interest/work
30    3/17/2015 18:40   Stan                                                                            legal advice related to VRS                                          product         Withheld          1        msg


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                                                                                                        Email chain with Giuffre, Edwards, Pottinger and McCawley re         n interest/work
31    3/17/2015 19:42   Virginia Giuffre   stanpottinger@aol.com                                        legal advice related to VRS                                          product         Withheld          1        msg


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                                           brad@pathtojustice.com,                                                                                                           defense/commo
                                                                 tan aortiz@BSFLLP.com,brittany@path Email chain with Giuffre, Edwards, Henderson, Pottinger,                n interest/work
32    3/20/2015 15:43   Sigrid McCawley    pottinger@aol.com         tojustice.com                   McCawley and BSF staff re legal advice related to VRS                   product         Withheld          1        msg


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33    3/20/2015 15:57   Sigrid McCawley                                                                 Providing legal advice re potential deposition                       product         Withheld          1        msg


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                                                                                                        Email chain with Giuffre, Edwards, Henderson, McCawley and           n interest/work
34    3/24/2015 21:19   Sigrid McCawley                                aortiz@BSFLLP.com                BSF staff re legal advice related to VRS                             product         Withheld          2        msg



                                                            Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                    Privilege                Doc
 ID   Email Sent Date   Email From         Email To                  CC Address                         Subject Matter                                               Type of Privilege Action      Page Count   Type

                                                                                                                                                                     Attorney
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                                                                                                        Email chain with Giuffre, Edwards, Henderson, McCawley and   n interest/work
35    3/24/2015 21:21   Virginia Giuffre   Smccawley@BSFLLP.com      aortiz@BSFLLP.com                  BSF staff re legal advice related to VRS                     product         Withheld          2        msg


                                                                                                                                                                     Attorney
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                                           Smccawley@BSFLLP.com,                                        Email chain with Giuffre, Edwards, Henderson, McCawley and   n interest/work
36    3/24/2015 21:36   Andres Ortiz                                                                    BSF staff re legal advice related to VRS                     product         Withheld          2        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                        Email chain with Giuffre, Edwards, Henderson, McCawley and   n interest/work
37    3/24/2015 22:21   Virginia Giuffre   aortiz@BSFLLP.com                                            BSF staff re legal advice related to VRS                     product         Withheld          3        msg


                                                                                                                                                                     Attorney
                                                                     Smccawley@BSFLLP.com,StanPotti                                                                  Client/joint
                                                                     nger@aol.com,brad@pathtojustice                                                                 defense/commo
                                                                     .com,brittany@pathtojustice.com,e Email chain with Giuffre, Edwards, Henderson, Pottinger,      n interest/work
38    3/26/2015 2:00    Sigrid McCawley                              perez@BSFLLP.com                  McCawley and BSF staff re legal advice related to VRS         product         Withheld          1        msg


                                                                                                                                                                     Attorney
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                                                                                                        Email chain with Giuffre, Edwards, Henderson, McCawley and   n interest/work
39    3/26/2015 2:21    Virginia Giuffre   Smccawley@BSFLLP.com                                         BSF staff re legal advice related to VRS                     product         Withheld          2        msg


                                                                                                                                                                     Attorney
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                                                                                                        Email chain with Giuffre, Edwards, Henderson, McCawley and   n interest/work
40    3/26/2015 2:22    Sigrid McCawley                                                                 BSF staff re legal advice related to VRS                     product         Withheld          2        msg



                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                      Privilege                Doc
 ID   Email Sent Date   Email From           Email To                CC Address                        Subject Matter                                                  Type of Privilege Action      Page Count   Type

                                                                                                                                                                       Attorney
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                                                                                                       Email chain with Giuffre, Edwards, Henderson, McCawley and      n interest/work
41    3/26/2015 3:00    Virginia Giuffre     Smccawley@BSFLLP.com                                      BSF staff re legal advice related to VRS                        product         Withheld          2        msg


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                       Giuffre conveying information sought by attorney to assist in   n interest/work
42    4/1/2015 21:32    Virginia Giuffre     Smccawley@BSFLLP.com                                      legal advice with attachments                                   product         Withheld          1        msg


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                       Providing draft legal document for client review, with          n interest/work
43    4/2/2015 7:01     Brittany Henderson                           eperez@BSFLLP.com                 attachment                                                      product         Withheld          1        msg
                                                                                                                                                                       AC Privilege and
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44                                                                                                     Attached Draft legal document                                   n interest       Withheld        15        pdf
                                                                                                                                                                       AC Privilege and
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                                                                     brad@pathtojustice.com,eperez@ Email chain with Giuffre, Henderson, Edwards and legal             defense/commo
45    4/3/2015 15:32    Brittany Henderson                           BSFLLP.com                     assistant re legal document, with attachment                       n interest       Withheld         2        msg
                                                                                                                                                                       AC Privilege and
                                                                                                                                                                       Work
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                                                                                                                                                                       defense/commo
46                                                                                                     Attached draft legal document                                   n interest                       15        pdf




                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                         Privilege                Doc
 ID   Email Sent Date   Email From         Email To                   CC Address                        Subject Matter                                                    Type of Privilege Action      Page Count   Type

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47    4/8/2015 20:34    Virginia Giuffre   Smccawley@BSFLLP.com                                         Seeking legal advice related to VRS                               product         Withheld          1        msg


                                                                                                                                                                          Attorney
                                                                                                                                                                          Client/joint
                                                                                                                                                                          defense/commo
                                                                                                        Email chain with Giuffre and McCawley re advice re legal filings, n interest/work
48    4/9/2015 3:23     Virginia Giuffre   Smccawley@BSFLLP.com                                         with attachments                                                  product         Withheld          2        msg


                                                                                                                                                                          Attorney
                                                                                                                                                                          Client/joint
                                           StanPottinger@aol.com,bra                                                                                                      defense/commo
                                           d@pathtojustice.com,      brittany@pathtojustice.com,sperki Email chain with Giuffre, Edwards, Henderson, McCawley and         n interest/work
49    4/9/2015 7:16     Sigrid McCawley                              ns@BSFLLP.com                     BSF staff re legal advice re media issues                          product         Withheld          2        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                        Email chain with Giuffre, Edwards, and McCawley re legal advice n interest/work
50    4/9/2015 9:26     Brad Edwards       Smccawley@BSFLLP.com                                         re media issues                                                 product         Withheld            1        msg


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                        Email chain with Giuffre and McCawley re legal advice re media n interest/work
51    4/9/2015 9:33     Sigrid McCawley                                                                 issues                                                         product         Withheld             2        msg
                                                                                                                                                                          AC Privilege and
                                                                                                                                                                          Work
                                                                                                                                                                          Product/joint
                                                                                                        Conveying legal advice re draft legal documents to client, with   defense/commo
52    4/9/2015 12:46    Sigrid McCawley                                                                 attachments                                                       n interest       Withheld         1        msg




                                                            Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                      Privilege                Doc
 ID   Email Sent Date   Email From         Email To                CC Address                        Subject Matter                                                    Type of Privilege Action      Page Count   Type
                                                                                                                                                                       AC Privilege and
                                                                                                                                                                       Work
                                                                                                                                                                       Product/joint
                                                                                                     Conveying legal advice re draft legal documents to client, with   defense/commo
53                                                                                                   attachments                                                       n interest        Withheld       14        docx
                                                                                                                                                                       AC Privilege and
                                                                                                                                                                       Work
                                                                                                                                                                       Product/joint
                                                                                                     Conveying legal advice re draft legal documents to client, with   defense/commo
54                                                                                                   attachments                                                       n interest       Withheld        12        docx
                                                                                                                                                                       AC Privilege and
                                                                                                                                                                       Work
                                                                                                                                                                       Product/joint
                                                                                                     Conveying legal advice re draft legal documents to client, with   defense/commo
55                                                                                                   attachments                                                       n interest       Withheld         2        docx


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                   StanPottinger@aol.com,brad@pat                                                                      n interest/work
56    4/10/2015 14:59   Sigrid McCawley                            htojustice.com                 Providing legal advice re media issues                               product         Withheld          1        msg


                                                                                                                                                                       Attorney
                                                                                                                                                                       Client/joint
                                                                                                                                                                       defense/commo
                                                                                                                                                                       n interest/work
57    4/10/2015 15:37   Virginia Giuffre   Smccawley@BSFLLP.com                                      Regarding legal advice re media issues                            product         Withheld          1        msg
                                                                                                                                                                       AC Privilege and
                                                                                                                                                                       Work
                                                                   StanPottinger@aol.com,brad@pat Email chain with Giuffre, McCawley, Henderson, Edwards,              Product/joint
                                                                   htojustice.com,brittany@pathtojus Pottinger and legal assistant re legal documents, with            defense/commo
58    4/10/2015 17:31   Sigrid McCawley                            tice.com,eperez@BSFLLP.com        attachments                                                       n interest       Withheld         2        msg
                                                                                                                                                                       AC Privilege and
                                                                                                                                                                       Work
                                                                                                                                                                       Product/joint
                                                                                                                                                                       defense/commo
59                                                                                                   Attached draft legal document                                     n interest       Withheld         3        pdf


                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                  Privilege                Doc
 ID   Email Sent Date   Email From         Email To                CC Address                        Subject Matter                                                Type of Privilege Action      Page Count   Type
                                                                                                                                                                   AC Privilege and
                                                                                                                                                                   Work
                                                                                                                                                                   Product/joint
                                                                                                                                                                   defense/commo
60                                                                                                   Attached draft legal document                                 n interest        Withheld       21        pdf


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                     Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
61    4/10/2015 17:40   Virginia Giuffre   Smccawley@BSFLLP.com                                      advice related to VRS                                            product         Withheld       2        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                     Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
62    4/10/2015 19:10   Virginia Giuffre   Smccawley@BSFLLP.com                                      advice related to VRS                                            product         Withheld       2        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                     Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
63    4/10/2015 19:28   Sigrid McCawley                                                              advice related to VRS                                            product         Withheld       2        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                     Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
64    4/10/2015 19:33   Virginia Giuffre   Smccawley@BSFLLP.com                                      advice related to VRS                                            product         Withheld       2        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                     Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
65    4/10/2015 20:03   Sigrid McCawley                                                              advice related to VRS                                            product         Withheld       2        msg




                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                        Privilege                Doc
 ID   Email Sent Date   Email From         Email To                     CC Address                       Subject Matter                                                  Type of Privilege Action      Page Count   Type

                                                                                                                                                                          Attorney
                                                                                                                                                                          Client/joint
                                                                                                                                                                          defense/commo
                                                                                                         Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
66    4/10/2015 20:04   Virginia Giuffre   Smccawley@BSFLLP.com                                          advice related to VRS                                            product         Withheld         2        msg


                                                                                                                                                                          Attorney
                                                                                                                                                                          Client/joint
                                                                                                                                                                          defense/commo
                                                                                                         Email chain with Giuffre, McCawley and BSF staff regarding legal n interest/work
67    4/10/2015 20:04   Sigrid McCawley                                                                  advice related to VRS                                            product         Withheld         2        msg
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                         Email chain with Giuffre, McCawley legal assistant re seeking   Product/joint
                                                                                                         and providing information sought by attorney to assist in       defense/commo
68    4/10/2015 23:46   Virginia Giuffre   Smccawley@BSFLLP.com                                          providing legal advice, with attachments                        n interest       Withheld         3        msg
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                        StanPottinger@aol.com,brad@pat Email chain with Giuffre, Pottinger, Edwards and McCawley re      defense/commo
69    4/13/2015 13:52   Sigrid McCawley                                 htojustice.com                 legal advice regarding potential public statements                n interest       Withheld         3        msg
                                                                                                                                                                         AC Privilege and
                                                                                                                                                                         Work
                                                                                                                                                                         Product/joint
                                                                                                         Email chain with Giuffre, Pottinger, Edwards and McCawley re    defense/commo
70    4/13/2015 13:56   Virginia Giuffre   Smccawley@BSFLLP.com                                          legal advice regarding media issues                             n interest       Withheld         3        msg


                                                                                                                                                                         Attorney
                                           Smccawley@BSFLLP.com,bri                                                                                                      Client/joint
                                           ttany@pathtojustice.com                                                                                                       defense/commo
                                                                 stan                                                                                                    n interest/work
71    4/14/2015 23:38   Brad Edwards       pottinger@aol.com                                             Providing legal advice related to VRS                           product         Withheld          1        msg




                                                            Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                    Privilege                Doc
 ID   Email Sent Date   Email From         Email To                CC Address                        Subject Matter                                                  Type of Privilege Action      Page Count   Type

                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                     Email chain with Giuffre and McCawley re legal advice regarding n interest/work
72    4/16/2015 11:14   Virginia Giuffre   Smccawley@BSFLLP.com                                      media issues                                                    product         Withheld          2        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                     Email chain with Giuffre and McCawley re legal advice regarding n interest/work
73    4/16/2015 11:47   Sigrid McCawley                                                              media issues                                                    product         Withheld          2        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                                                                                     n interest/work
74    4/24/2015 19:22   Sigrid McCawley                                                              Providing legal advice re records retention, with attachments   product         Withheld          1        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                                                                                     n interest/work
75                                                                                                   Attached letter providing legal advice re document retention    product         Withheld          2        pdf


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                     Email chain with Giuffre and McCawley re legal advice regarding n interest/work
76    4/24/2015 19:59   Virginia Giuffre   Smccawley@BSFLLP.com                                      potential deposition                                            product         Withheld          1        msg


                                                                                                                                                                     Attorney
                                                                                                                                                                     Client/joint
                                                                                                                                                                     defense/commo
                                                                                                                                                                     n interest/work
77    4/27/2015 21:20   Brad Edwards                               Smccawley@BSFLLP.com              Seeking information to assist in providing legal advice         product         Withheld          1        msg



                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                          Privilege                 Doc
 ID   Email Sent Date   Email From           Email To                     CC Address                      Subject Matter                                                   Type of Privilege Action       Page Count   Type
                                                                                                                                                                           AC Privilege and
                                                                                                                                                                           Work
                                                                          Smccawley@BSFLLP.com,brad@pa                                                                     Product/joint
                                                                          thtojustice.com,                                                                                 defense/commo
78    4/30/2015 6:42    Brittany Henderson   eperez@BSFLLP.com                                            Legal documents provided to assist in providing legal advice     n interest        Withheld         1        msg


                                                                                                                                                                           Attorney
                                                                                                                                                                           Client/joint
                                                                                                                                                                           defense/commo
                                                                                                          Email chain with Giuffre, Henderson and paralegal re seeking     n interest/work
79    4/30/2015 7:02    Brittany Henderson                                                                and providing information to assist in providing legal advice    product         Withheld           2        msg
                                                                                                                                                                              AC Privilege and
                                                                                                                                                                              Work
                                                                                                          Email chain with Giuffre, Henderson, Edwards, McCawley and          Product/joint
                                                                                                          legal assistant re seeking information to assist in providing legal defense/commo
80    4/30/2015 7:05    Virginia Giuffre     brittany@pathtojustice.com                                   advice                                                              n interest       Withheld       2        msg
                                                                                                                                                                              AC Privilege and
                                                                                                                                                                              Work
                                                                                                          Email chain with Giuffre, Henderson, Edwards, McCawley and          Product/joint
                                                                                                          legal assistant re seeking information to assist in providing legal defense/commo
81    5/4/2015 20:04    Virginia Giuffre     brittany@pathtojustice.com                                   advice, with attachment                                             n interest       Withheld       2        msg
                                                                                                                                                                           AC Privilege and
                                                                                                                                                                           Work
                                                                                                          Email chain with McCawley, Giuffre, Edwards, Pottinger,          Product/joint
                                                                                                          Henderson and Paralegal re seeking and providing information     defense/commo
82    5/11/2015 18:20   Sigrid McCawley                                   Smccawley@BSFLLP.com            to assist in legal advice, with attachments                      n interest       Withheld          1        msg
                                                                                                                                                                           AC Privilege and
                                                                                                                                                                           Work
                                                                                                          Email chain with Giuffre, McCawley, Edwards, Pottinger and       Product/joint
                                                                                                          Paralegal re seeking information to assist in providing legal    defense/commo
83    5/11/2015 18:34   Virginia Giuffre     Smccawley@BSFLLP.com                                         advice re potential litigation                                   n interest       Withheld          2        msg
                                                                                                                                                                           AC Privilege and
                                                                                                                                                                           Work
                                                                                                                                                                           Product/joint
                                                                                                          Email chain with Giuffre and McCawley re case research, with     defense/commo
84    5/11/2015 18:40   Sigrid McCawley                                                                   attachment                                                       n interest       Withheld          2        msg




                                                              Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                       Privilege                Doc
 ID   Email Sent Date   Email From         Email To                  CC Address                        Subject Matter                                                   Type of Privilege Action      Page Count   Type
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                                                                                        Product/joint
                                           brad@pathtojustice.com,                                     Providing and seeking information to assist in legal advice re   defense/commo
85    5/11/2015 18:45   Sigrid McCawley                                                                potential legal action, with attachment                          n interest        Withheld        1        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                       Email chain with Giuffre and McCawley re seeking information     n interest/work
86    5/11/2015 18:47   Virginia Giuffre   Smccawley@BSFLLP.com                                        to assist in providing legal advice re potential litigation      product         Withheld          1        msg
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                       Email chain with Giuffre, McCawley, Edwards, Pottinger and       Product/joint
                                                                                                       Paralegal re seeking information to assist in providing legal    defense/commo
87    5/11/2015 18:56   Virginia Giuffre   brad@pathtojustice.com                                      advice re potential litigation                                   n interest       Withheld         2        msg


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                                                                                        n interest/work
88    5/17/2015 22:37   Sigrid McCawley                                                                Providing litigation documents to client, with attachments       product         Withheld          3        msg
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                                                                                        Product/joint
                                                                                                                                                                        defense/commo
89                                                                                                     Attached draft legal agreement                                   n interest       Withheld        10        pdf


                                                                                                                                                                        Attorney
                                                                                                                                                                        Client/joint
                                                                                                                                                                        defense/commo
                                                                                                                                                                        n interest/work
90    5/17/2015 22:40   Sigrid McCawley                                                                Providing legal advice re legal agreement, with attachment       product         Withheld          1        msg
                                                                                                                                                                        AC Privilege and
                                                                                                                                                                        Work
                                                                                                                                                                        Product/joint
                                                                                                                                                                        defense/commo
91    5/18/2015 18:40   Virginia Giuffre   Smccawley@BSFLLP.com                                        Discussion of confidential agreement, with attachments           n interest       Withheld         1        msg

                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                  Privilege                Doc
 ID   Email Sent Date   Email From         Email To                CC Address                        Subject Matter                                                Type of Privilege Action      Page Count   Type

                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                                                                                   n interest/work
92                                                                                                   Attached confidential agreement page                          product         Withheld          1        jfif


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                                                                                   n interest/work
93                                                                                                   Attached confidential agreement page                          product         Withheld          1        jfif


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                                                                                   n interest/work
94    6/5/2015 19:16    Sigrid McCawley                                                              Conveying attorney mental impression regarding hearing        product         Withheld          1        msg


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                     Email chain with Giuffre and McCawley re attorney mental      n interest/work
95    6/6/2015 17:20    Virginia Giuffre   Smccawley@BSFLLP.com                                      impression regarding hearing                                  product         Withheld          1        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                                                                                      n interest/work
96    6/25/2015 2:26    Sigrid McCawley                                                              Providing advice re status and strategy of ongoing legal matters product         Withheld       6        msg


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                     Discussion with S. McCawley regarding file related to         n interest/work
97    7/17/2015 14:19   Sigrid McCawley                            eperez@BSFLLP.com                 representation by B. Josefsberg                               product         Withheld          4        msg



                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                     Privilege                Doc
 ID   Email Sent Date   Email From         Email To                CC Address                        Subject Matter                                                   Type of Privilege Action      Page Count   Type

                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                     Providing information to assist in legal advice re potential     n interest/work
98    7/27/2015 21:53   Virginia Giuffre   Smccawley@BSFLLP.com                                      litigation                                                       product         Withheld          1        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                                                                                      n interest/work
99    7/29/2015 19:45   Sigrid McCawley                            StanPottinger@aol.com             Conveying legal advice on media issues                           product         Withheld          1        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                                                                                                                      Product/joint
                                                                                                     Email chain with Giuffre, McCawley and paralegals re             defense/commo
100   8/5/2015 19:51    Sigrid McCawley                                                              information sought to assist in providing legal advice           n interest       Withheld         1        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                                                     Email chain with Giuffre, McCawley, legal intern and paralegal   Product/joint
                                                                                                     re seeking information to assist in providing legal advice re    defense/commo
101    8/6/2015 2:14    Sigrid McCawley                                                              potential litigation                                             n interest       Withheld         2        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                                                     Email chain with Giuffre, McCawley, legal intern, Edwards and    Product/joint
                                                                                                     paralegal re seeking information to assist in providing legal    defense/commo
102    8/6/2015 2:45    Sigrid McCawley                            brad@pathtojustice.com            advice re potential litigation                                   n interest       Withheld         2        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                                                     Email chain with Giuffre, McCawley, legal intern and paralegal   Product/joint
                                                                                                     re seeking information to assist in providing legal advice re    defense/commo
103    8/6/2015 2:55    Virginia Giuffre   Smccawley@BSFLLP.com                                      potential litigation                                             n interest       Withheld         2        msg
                                                                                                                                                                      AC Privilege and
                                                                                                                                                                      Work
                                                                                                                                                                      Product/joint
                                                                   Smccawley@BSFLLP.com,brad@pa Email chain with McCawley, Giuffre, and Paralegals re seeking         defense/commo
104    8/6/2015 3:48    Sigrid McCawley                            thtojustice.com              information to assist in legal advice, with attachments               n interest       Withheld         2        msg


                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                              Privilege                Doc
 ID   Email Sent Date   Email From         Email To                     CC Address                          Subject Matter                                                     Type of Privilege Action      Page Count   Type
                                                                                                                                                                               AC Privilege and
                                                                                                                                                                               Work
                                                                                                            Email chain with Giuffre, McCawley, legal intern and paralegal     Product/joint
                                                                                                            re seeking information to assist in providing legal advice re      defense/commo
105    8/6/2015 3:51    Virginia Giuffre   Smccawley@BSFLLP.com                                             potential litigation                                               n interest        Withheld        2        msg
                                                                                                                                                                               AC Privilege and
                                                                                                                                                                               Work
                                                                                                                                                                               Product/joint
                                                                        brad@pathtojustice.com,brittany@ Providing and seeking information to assist in legal advice re        defense/commo
106   9/1/2015 18:54    Sigrid McCawley                                 pathtojustice.com                potential legal action, with attachment                               n interest       Withheld         2        msg


                                                                                                                                                                               Attorney
                                                                                                                                                                               Client/joint
                                           brad@pathtojustice.com,sm                                                                                                           defense/commo
                                           ccawley@bsfllp.com,stanpot                                       Providing information sought by attorneys to provide legal         n interest/work
107   9/7/2015 18:24    Virginia Giuffre   tinger@aol.com                                                   advice, with attachment                                            product         Withheld          1        msg
                                                                                                                                                                               AC Privilege and
                                                                                                                                                                               Work
                                                                                                                                                                               Product/joint
                                                                                                            Attached Information sought by attorneys to provide legal          defense/commo
108                                                                                                         advice                                                             n interest       Withheld         4        docx


                                                                                                                                                                               Attorney
                                                                                                                                                                               Client/joint
                                           brad@pathtojustice.com,                                          Email chain with Giuffre, Edwards, Pottinger and McCawley re       defense/commo
                                                                ,stan                                       collection of information to assist in providing legal advice re   n interest/work
109   9/7/2015 18:58    Sigrid McCawley    pottinger@aol.com                                                potential litigation                                               product         Withheld          1        msg


                                                                                                                                                                          Attorney
                                                                                                                                                                          Client/joint
                                                                                                                                                                          defense/commo
                                                                                                            Email chain with Giuffre and McCawley re draft legal document n interest/work
110   9/15/2015 21:58   Virginia Giuffre   Smccawley@BSFLLP.com                                             relating to litigation                                        product         Withheld               1        msg




                                                            Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                  Privilege                Doc
 ID   Email Sent Date   Email From         Email To                CC Address                        Subject Matter                                                Type of Privilege Action      Page Count   Type

                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                     Email chain with Giuffre and McCawley re draft legal document n interest/work
111   9/15/2015 22:04   Sigrid McCawley                                                              relating to litigation                                        product         Withheld          2        msg


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                     Email chain with Giuffre and McCawley re draft legal document n interest/work
112   9/15/2015 22:07   Virginia Giuffre   Smccawley@BSFLLP.com                                      relating to litigation                                        product         Withheld          2        msg


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                                                                                   n interest/work
113   9/20/2015 12:15   Sigrid McCawley                            brad@pathtojustice.com            Conveying information about potential legal action.           product         Withheld          1        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                                                                                      n interest/work
114   9/20/2015 14:47   Virginia Giuffre   Smccawley@BSFLLP.com                                      Email chain with Giuffre and McCawley re potential legal action. product         Withheld       1        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                                                                                      n interest/work
115   9/20/2015 19:16   Virginia Giuffre   Smccawley@BSFLLP.com                                      Email chain with Giuffre and McCawley re potential legal action. product         Withheld       1        msg


                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                                                                                      n interest/work
116   9/20/2015 19:29   Sigrid McCawley                                                              Email chain with Giuffre and McCawley re potential legal action. product         Withheld       2        msg



                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                  Privilege                Doc
 ID   Email Sent Date   Email From         Email To                CC Address                        Subject Matter                                                Type of Privilege Action      Page Count   Type

                                                                                                                                                                      Attorney
                                                                                                                                                                      Client/joint
                                                                                                                                                                      defense/commo
                                                                                                                                                                      n interest/work
117   9/20/2015 19:30   Virginia Giuffre   Smccawley@BSFLLP.com                                      Email chain with Giuffre and McCawley re potential legal action. product         Withheld       2        msg
                                                                                                                                                                   AC Privilege and
                                                                                                                                                                   Work
                                                                                                                                                                   Product/joint
                                                                                                                                                                   defense/commo
118   9/21/2015 14:48   Sigrid McCawley                                                              Communication re initiation of lawsuit, with attachments      n interest       Withheld         1        msg
                                                                                                                                                                   AC Privilege and
                                                                                                                                                                   Work
                                                                                                                                                                   Product/joint
                                                                                                                                                                   defense/commo
119                                                                                                  Attached draft legal document relating to litigation          n interest       Withheld        12        pdf


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                                                                                   n interest/work
120                                                                                                  Attached draft legal document relating to litigation          product         Withheld          2        pdf


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                                                                                   n interest/work
121                                                                                                  Attached draft legal document relating to litigation          product         Withheld          2        pdf


                                                                                                                                                                   Attorney
                                                                                                                                                                   Client/joint
                                                                                                                                                                   defense/commo
                                                                                                                                                                   n interest/work
122                                                                                                  Attached draft legal document relating to litigation          product         Withheld          3        pdf




                                                         Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                                       Privilege                   Doc
 ID      Email Sent Date     Email From                  Email To                         CC Address                    Subject Matter                                                  Type of Privilege Action       Page Count     Type

                                                                                                                                                                                         Attorney
                                                                                                                                                                                         Client/joint
                                                                                                                                                                                         defense/commo
                                                                                                                                                                                         n interest/work
123     9/21/2015 14:51      Virginia Giuffre            Smccawley@BSFLLP.com                                           Email chain with Giuffre and McCawley re potential legal action. product         Withheld           1         msg




                                                                                                                        Plaintiff has objected that Defendant’s requests are overly
                                                                                                                        broad and unduly burdensome, as individually logging all
                                                                                                                        privileged responsive documents would be overly burdensome.
                                                                                                                        Plaintiff contends that requests targeting such privileged
                                                                                                                        information are not reasonably calculated to lead to the
                                                                                                                        discovery of admissible evidence, are not important to resolving
                                                                                                                        the issues, are not relevant to any party’s claim or defense, are
                                                                                                                        not proportional to the needs of the case, and creates a heavy
                                                                                                                        burden on Plaintiff that outweighs its benefit. Therefore,
                                                                                                                        Plaintiff has employed categorical logging pursuant to Local Civil
                                                                                                                        Rule 26.2(c). Correspondence re: Jane Doe #1 and Jane Doe #2
                             Virginia Giuffre, Brad
                                                                                                                        v. United States ("CVRA case"), Case no. 08-80736-CIV-Marra,
                             Edwards, Paul Cassell,
                                                                                                                        pending in the Southern District of Florida. Documents withheld
                             Brittany Henderson (and     Virginia Giuffre, Brad
                                                                                                                        pursuant to the privileges asserted included communications
                             other , Sigrid McCawley,    Edwards, Paul Cassell,
                                                                                                                        from Ms. Giuffre to the attorneys listed seeking legal advice
                             Meredith Schultz, David     Brittany Henderson, Sigrid
                                                                                                                        related to the CVRA case, communications from the attorneys
                             Boies, Jack Scarola, Stan   McCawley, Meredith
                                                                                                                        to Ms. Giuffre giving legal advice or giving attorney mental
                             Pottinger, Ellen            Schultz, David Boies, Jack
                                                                                                                        impressions related to the CVRA case, communications sending
                             Brockman, Legal             Scarola, Stan Pottinger, Ellen
                                                                                                                        or attaching attorney work product related to the CVRA case,
                             Assistants, Professionals   Brockman, Legal Assistants,                                                                                                       AC Privilege and            Approx. 1.3K
                                                                                                                        and/or communications sending or attaching client revisions to
                             retained by attorneys to    Professionals retained by                                                                                                         Work                            docs
                                                                                                                        attorney work product related to the CVRA case, and
        Emails, letters, and aid in the rendition of     attorneys to aid in the                                                                                                           Product/joint               overlapping
                                                                                                                        communications re evidence.
      other communications legal advice and              rendition of legal advice and                                                                                                     defense/commo                with other
125    from 2011 - Present representation                representation                                                                                                                    n interest       Withheld      cases




                                                                            Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                                            Privilege                  Doc
 ID      Email Sent Date      Email From                 Email To                        CC Address                     Subject Matter                                                       Type of Privilege Action      Page Count     Type




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                                                                                                                        not proportional to the needs of the case, and creates a heavy
                                                                                                                        burden on Plaintiff that outweighs its benefit. Therefore,
                                                                                                                        Plaintiff has employed categorical logging pursuant to Local Civil
                             Virginia Giuffre, Brad                                                                     Rule 26.2(c). Correspondence re: Giuffre v. Maxwell (“Maxwell
                             Edwards, Paul Cassell,                                                                     case”), 15-cv-07433-RWS, pending in the Southern District of
                             Brittany Henderson,         Virginia Giuffre, Brad                                         New York, since the date of filing, September 21, 2015.
                             Sigrid McCawley,            Edwards, Paul Cassell,                                         Documents withheld pursuant to the privileges asserted
                             Meredith Schultz, David     Brittany Henderson, Sigrid                                     included communications from Ms. Giuffre to the attorneys
                             Boies, Stephen Zach,        McCawley, Meredith                                             listed seeking legal advice related to the Maxwell case,
                             Stan Pottinger, Ellen       Schultz, David Boies,                                          communications from the attorneys to Ms. Giuffre giving legal
                             Brockman, Legal             Stephen Zach, Stan                                             advice or giving attorney mental impressions related to the
                             Assistants, Professionals   Pottinger, Ellen Brockman,                                     Maxwell case, communications sending or attaching attorney           AC Privilege and              Approx. 1.3K
                             retained by attorneys to    Legal Assistants,                                              work product related to the Maxwell case, and/or                     Work                              docs
        Emails, letters, and aid in the rendition of     Professionals retained by                                      communications sending or attaching client revisions to              Product/joint                 overlapping
      other communications legal advice and              attorneys to aid in the                                        attorney work product related to the Maxwell case, and               defense/commo                  with other
126   from 9/21/15 - Present representation              rendition of legal advice and                                  communications re evidence.                                          n interest       Withheld        cases




                                                                            Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                                            Privilege                  Doc
 ID      Email Sent Date      Email From                 Email To                        CC Address                     Subject Matter                                                       Type of Privilege Action      Page Count     Type




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                                                                                                                        not proportional to the needs of the case, and creates a heavy
                                                                                                                        burden on Plaintiff that outweighs its benefit. Therefore,
                                                                                                                        Plaintiff has employed categorical logging pursuant to Local Civil
                             Virginia Giuffre, Brad                                                                     Rule 26.2(c). Correspondence re: Bradley Edwards and Paul
                             Edwards, Paul Cassell,                                                                     Cassell v.
                             Brittany Henderson,         Virginia Giuffre, Brad                                                   pending in the Seventeenth Judicial Circuit, Broward
                             Sigrid McCawley,            Edwards, Paul Cassell,                                         County, Florida. Documents withheld pursuant to the privileges
                             Meredith Schultz, David     Brittany Henderson, Sigrid                                     asserted included communications from Ms. Giuffre to the
                             Boies, Stephen Zach,        McCawley, Meredith                                             attorneys listed seeking legal advice related to the
                             Stan Pottinger, Ellen       Schultz, David Boies,                                          case, communications from the attorneys to Ms. Giuffre giving
                             Brockman, Legal             Stephen Zach, Stan                                             legal advice or giving attorney mental impressions related to the
                             Assistants, Professionals   Pottinger, Ellen Brockman,                                                  case, communications sending or attaching attorney      AC Privilege and              Approx. 1.3K
        Emails, letters, and retained by attorneys to    Legal Assistants,                                              work product related to the               case, and/or               Work                              docs
      other communications aid in the rendition of       Professionals retained by                                      communications sending or attaching client revisions to              Product/joint                 overlapping
       from January 2015 - legal advice and              attorneys to aid in the                                        attorney work product related to the               case, and         defense/commo                  with other
127          Present         representation              rendition of legal advice and                                  communications re evidence.                                          n interest       Withheld        cases




                                                                            Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                                                   Privilege                  Doc
 ID      Email Sent Date     Email From                  Email To                        CC Address                           Subject Matter                                                        Type of Privilege Action      Page Count     Type




                                                                                                                              Plaintiff has objected that Defendant’s requests are overly
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                                                                                                                              discovery of admissible evidence, are not important to resolving
                                                                                                                              the issues, are not relevant to any party’s claim or defense, are
                                                                                                                              not proportional to the needs of the case, and creates a heavy
                                                                                                                              burden on Plaintiff that outweighs its benefit. Therefore,
                                                                                                                              Plaintiff has employed categorical logging pursuant to Local Civil
                                                                                                                              Rule 26.2(c). Correspondence re: Jane Doe No. 102 v. Jeffrey
                                                                                                                              Epstein (“Epstein case”), Case No. 09-80656-CIV-Marra/Johnson
                                                                                                                              (Southern District of Florida). Documents withheld pursuant to
                                                                                                                              the privileges asserted included communications from Ms.
                             Virginia Giuffre, Bob       Virginia Giuffre, Bob                                                Giuffre to the attorneys listed seeking legal advice related to the
                             Josefsberg, Katherine W.    Josefsberg, Katherine W.                                             Epstein case, communications from the attorneys to Ms. Giuffre
                             Ezell, Amy Ederi, other     Ezell, Amy Ederi, other                                              giving legal advice or giving attorney mental impressions related
                             Podhurst attorneys,         Podhurst attorneys, Legal                                            to the Epstein case, communications sending or attaching              AC Privilege and              Approx. 1.3K
                             Legal Assistants, and       Assistants, and Professionals                                        attorney work product related to the Epstein case, and/or             Work                              docs
        Emails, letters, and Professionals retained by   retained by attorneys to aid                                         communications sending or attaching client revisions to               Product/joint                 overlapping
      other communications attorneys to aid in the       in the rendition of legal                                            attorney work product related to the Epstein case, and                defense/commo                  with other
128    from 2009 - Present rendition of legal advice     advice                                                               communications re evidence.                                           n interest       Withheld        cases
                                                                                                                              Email chain with Giuffre and McCawley seeking information to
129        6/10/2015         Virginia Giuffre                                                                                 assist with attorney advice.                                          Attorney Client   Withheld         2         msg

                                                                                                                              Letter from Virginia Giuffre to David Boies conveying requested AC Privilege and
130                                                                                                                           information to assist in providing legal advice.                Work Product     Withheld               26         pdf
                                                                                         Smccawley@BSFLLP.com,brad@pa
                                                                                         thtojustice.com,                                                                                           AC Privilege and
131        4/30/2015         Brittany Henderson          eperez@BSFLLP.com                                                    Communication re VRS registrations                                    Work Product     Withheld          1         msg
                                                                                         Smccawley@BSFLLP.com,brad@pa
                                                                                         thtojustice.com,garvin@lclark.edu, Email chain with McCawley, Edwards, Garvin, Henderson,                  AC Privilege and
132        4/29/2015         Andres Ortiz                bh699@nova.edu                                                     Giuffre and BSF staff re legal advice re VRS communications.            Work Product     Withheld          1         msg
                                                                                         Smccawley@BSFLLP.com,brad@pa
                                                                                         thtojustice.com,garvin@lclark.edu,                                                                         AC Privilege and
133        4/29/2015         brittany henderson          aortiz@BSFLLP.com                                                    Communication re legal advice re VRS communications.                  Work Product     Withheld          1         msg

                                                                            Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                             Privilege                Doc
 ID   Email Sent Date   Email From              Email To                    CC Address                         Subject Matter                                                 Type of Privilege Action      Page Count   Type

                                                                            Smccawley@BSFLLP.com,brittany Email chain with Cassell, McCawley, Edwards, Garvin, Beloof,
                                                                            @pathtojustice.com,eperez@BSFLL Henderson, Giuffre and BSF staff re legal advice re VRS           AC Privilege and
134     4/17/2015       Paul Cassell            brad@pathtojustice.com      P.com                           registrations.                                                    Work Product     Withheld         5        msg
                                                                           brittany@pathtojustice.com,eperez Email chain with Cassell, McCawley, Edwards, Garvin, Beloof,
                                                brad@pathtojustice.com,cas @BSFLLP.com,                      Henderson, Giuffre and BSF staff re legal advice re VRS          AC Privilege and
135     4/17/2015       Sigrid McCawley         sellp@law.utah.edu                                           registrations.                                                   Work Product     Withheld         4        msg

                                                                            Smccawley@BSFLLP.com,brittany Email chain with Cassell, McCawley, Edwards, Garvin, Beloof,
                                                                            @pathtojustice.com,eperez@BSFLL Henderson, Giuffre and BSF staff re legal advice re VRS           AC Privilege and
136     4/17/2015       Brad Edwards            cassellp@law.utah.edu       P.com                           registrations.                                                    Work Product     Withheld         4        msg

137     2/26/2015       Sigrid McCawley                                                                    Email chain with Giuffre and McCawley re non-testifying expert.    Attorney Client   Withheld        1        msg
138     2/26/2015       Sigrid McCawley                                                                    Communication re non-testifying expert.                            Attorney Client   Withheld        1        msg
                                                                                                           Email chain with Giuffre, McCawley, Edwards, Pottinger and BSF
139     2/11/2016       Sigrid McCawley                                                                    staff re media communications.                                     Attorney Client   Redacted        3        msg
                                                StanPottinger@aol.com       Lcarlsen@BSFLLP.com,brad@patht Email chain with Giuffre, McCawley, Edwards, Pottinger and BSF
140     2/11/2016       Sigrid McCawley                                     ojustice.com                   staff re media communications.                                     Attorney Client   Redacted        3        msg
                                                                            Lcarlsen@BSFLLP.com,Smccawley
                                                                            @BSFLLP.com,brad@pathtojustice. Email chain with Giuffre, McCawley, Edwards, Pottinger and BSF
141     2/11/2016       StanPottinger@aol.com                               com                             staff re media communications.                                 Attorney Client      Redacted        3        msg
                                                                                                            Email chain with Giuffre and Pottinger re media
142     2/9/2016        StanPottinger@aol.com                                                               communications.                                                Attorney Client      Redacted        2        msg

                                                                                                               Letter from Virginia Giuffre to David Boies conveying requested AC Privilege and
143                                                                                                            information to assist in providing legal advice.                Work Product     Withheld       26        pdf

                                                                                                               Letter from Virginia Giuffre to David Boies conveying requested AC Privilege and
144                                                                                                            information to assist in providing legal advice.                Work Product     Withheld       23        docx

145     6/10/2015       Virginia Giuffre                                                                       Email chain with Giuffre and McCawley re ongoing litigation.   Attorney Client   Withheld        2        msg
                                                                            Smccawley@BSFLLP.com,bh699@n
                                                                            ova.edu,brad@pathtojustice.com,g Email chain with Henderson, McCawey, Edwards, Garvin and
146     4/29/2015       Virginia Giuffre        aortiz@BSFLLP.com           arvin@lclark.edu                 BSF staff re VRS communications.                                 Attorney Client   Withheld        2        msg
                                                                                                             Email chain with          Giuffre, McCawley, and BSF staff re
147     4/10/2015       Virginia Giuffre                                                                     legal advice re VRS registrations.                               Attorney Client   Withheld        2        msg
148     2/26/2015       Virginia Giuffre        Smccawley@BSFLLP.com                                         Email confirming legal advice re non-testifying expert.          Attorney Client   Withheld        1        msg


                                                                 Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                                          Privilege                  Doc
 ID      Email Sent Date      Email From                 Email To                     CC Address                       Subject Matter                                                      Type of Privilege Action      Page Count     Type
                                                                                                                       Email chain with Giuffre and Pottinger re media
149        2/11/2015          Virginia Giuffre           StanPottinger@aol.com                                         communications                                                      Attorney Client   Redacted         3         msg
                                                                                                                       Email chain with Giuffre, McCawley, Pottinger and BSF staff re
150        2/11/2015          Virginia Giuffre           Smccawley@BSFLLP.com                                          media communications.                                               Attorney Client   Redacted         3         msg

                                                                                                                                                                                           AC Privilege and
151        1/13/2015          Virginia Giuffre           StanPottinger@aol.com                                         Email chain with Pottinger and Giuffre re anticipated litigation.   Work Product     Withheld          1         msg

                                                                                                                       Plaintiff has objected that Defendant’s requests are overly
                                                                                                                       broad and unduly burdensome, as individually logging all
                                                                                                                       privileged responsive documents would be overly
                                                                                                                       burdensome. Plaintiff contends that requests targeting
                                                                                                                       such privileged information are not reasonably calculated
                                                                                                                       to lead to the discovery of admissible evidence, are not
                                                                                                                       important to resolving the issues, are not relevant to any
                                                                                                                       party’s claim or defense, are not proportional to the
                                                                                                                       needs of the case, and creates a heavy burden on Plaintiff
                                                                                                                       that outweighs its benefit. Therefore, Plaintiff has
                                                                                                                       employed categorical logging pursuant to Local Civil Rule
                                                                                                                       26.2(c). This categorical entry is regarding correspondence
                                                                                                                       re potential legal action against entities and individuals.
                             Virginia Giuffre, Brad                                                                    Documents withheld pursuant to the privileges asserted
                             Edwards, Paul Cassell,      Virginia Giuffre, Brad                                        included communications from Ms. Giuffre to the
                             Brittany Henderson,         Edwards, Paul Cassell,                                        attorneys listed seeking legal advice related to potential
                             Sigrid McCawley,            Brittany Henderson, Sigrid                                    law suits, communications from the attorneys to Ms.
                             Meredith Schultz, David     McCawley, Meredith
                                                                                                                       Giuffre giving legal advice or giving attorney mental
                             Boies, Stephen Zach,        Schultz, David Boies,
                                                                                                                       impressions related to the law suits, communications
                             Stan Pottinger, Ellen       Stephen Zach, Stan
                             Brockman, Legal             Pottinger, Ellen Brockman,                                    sending or attaching attorney work product related to               AC Privilege and
        Emails, letters, and Assistants, Professionals   Legal Assistants,                                             potential lawsuits, and/or communications sending or                Work                          Approx. 1.3K
      other communications retained by attorneys to      Professionals retained by                                     attaching client revisions to attorney work product related         Product/joint                 overlapping
       from January 2015 - aid in the rendition of       attorneys to aid in the                                       to potential lawsuits, and communications re evidence.              defense/commo                  with other
152          Present         legal advice                rendition of legal advice                                                                                                         n interest       Withheld        cases




                                                                           Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
Log                                                                                                                                                                                                    Privilege                 Doc
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                                                                                                                    important to resolving the issues, are not relevant to any
                                                                                                                    party’s claim or defense, are not proportional to the
                                                                                                                    needs of the case, and creates a heavy burden on Plaintiff
                         The law enforcement                                                                        that outweighs its benefit. Therefore, Plaintiff has
                         entity, Virginia Giuffre,   The law enforcement entity,                                    employed categorical logging pursuant to Local Civil Rule
                         David Boies, Stan           Virginia Giuffre, David Boies,                                 26.2(c). This categorical entry is regarding correspondence
                         Pottinger, Sigrid           Stan Pottinger, Sigrid
                                                                                                                    re the currently ongoing criminal investigation of
      Email and letter   McCawley, Paul Cassell,     McCawley, Paul Cassell, Brad                                                                                                                                   approx. 57
                                                                                                                    Defendant and others.
153   communications     Brad Edwards                Edwards                                                                                                                         Public Interest   Withheld     documents

                                                                                                                    Email chain discussing efforts to obtain assistance from FBI        AC Privilege and
154     8/27/2014        Virginia Giuffre            Brad Edwards                                                   agent in obtaining information to assist in providing legal advice. Work Product     Withheld       1        msg

                                                                                                                    Email chain discussing efforts to obtain assistance from FBI        AC Privilege and
155     8/27/2014        Virginia Giuffre            Brad Edwards                                                   agent in obtaining information to assist in providing legal advice. Work Product     Withheld       1        msg

                                                                                                                    Email chain discussing efforts to obtain assistance from FBI        AC Privilege and
156     8/27/2014        Virginia Giuffre            Brad Edwards                                                   agent in obtaining information to assist in providing legal advice. Work Product     Withheld       1        msg




                                                                        Plaintiff Virginia Giuffre's Revised Supplemental Privilege Log dated June 9, 2016
